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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


   AMAZON.COM,INC. and AMAZON
   DATA SERVICES,INC.,

                  Plaintiffs,



   WDC HOLDINGS LLC dba NORTHSTAR
                                                          CASE NO. 1:20-CV-484-LO-TCB
   COMMERCIAL PARTNERS; BRIAN
   WATSON;STERLING NCP FF, LLC;
   MANASSAS NCP FF, LLC; NSIPI
   ADMINISTRATIVE MANAGER;NOVA
   WPC LLC; WHITE PEAKS CAPITAL LLC;
   VILLANOVA TRUST;CASEY
   KIRSCHNER; ALLCORE DEVELOPMENT
   LLC; FINBRIT HOLDINGS LLC;
   CHESHIRE VENTURES LLC; CARLETON
   NELSON;JOHN DOES 1-20,

                  Defendants.



           ORDER GRANTING PLAINTIFFS' MOTION TO HOLD DEFENDANTS
              BRIAN WATSON & WDC HOLDINGS IN CIVIL CONTEMPT

          This matter comes before the Court on Plaintiffs Amazon.com, Inc. and Amazon Data

   Services, Inc.'s (collectively "Amazon") Motion To Hold Defendants Brian Watson &

   WDC Holdings LLC (collectively "Defendants") In Civil Contempt. Dkt. 347. Having

   reviewed the arguments and evidence submitted by the parties, the Court hereby orders that

   Plaintiffs' motion is GRANTED.


          Specifically, it is hereby ORDERED that:

          (1) Defendants are in willful civil contempt of the Court's Preliminary Injunction

   ("Injunction") (Dkt. 57) by virtue of their willful and knowing failure to comply with its

   requirements that Defendants (a) secure $ 21,250,000 through the entry and execution of final

   judgment in this action by:(i) promptly placing the funds in an escrow account; or (ii) obtaining
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